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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY



 STATE OF NEW JERSEY,                                                 Civil Case No. 2:23-cv-03885

                                Plaintiff,

                      v.

 UNITED STATES DEPARTMENT OF
 TRANSPORTATION, FEDERAL HIGHWAY
 ADMINISTRATION, SHAILEN BHATT, in his official
 capacity as Administrator of the Federal Highway
 Administration, and RICHARD J. MARQUIS, in his official
 capacity as Division Administrator of the New York Division
 of the Federal Highway Administration,

                                Defendants,

       and

 METROPOLITAN TRANSPORTATION AUTHORITY and
 TRIBOROUGH BRIDGE AND TUNNEL AUTHORITY,

                                 Defendant-Intervenors.



                  [PROPOSED] ORDER TO SHOW CAUSE FOR A
          TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

        Upon the application of Plaintiff the State of New Jersey (“Plaintiff”), by its counsel, King

& Spalding LLP, the Declaration of Camilla Akbari, dated December 31, 2024, the Amended

Complaint in this action, ECF No. 139, the Memorandum of Law submitted herewith, and all the

prior papers filed in this action, it is hereby:

I.      ORDERED that the above-captioned defendants United States Department of

        Transportation, Federal Highway Administration, Shailen Bhatt, in his official capacity as

        Administrator of the Federal Highway Administration, and Richard J. Marquis, in his


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      official capacity as Division Administrator of the New York Division of the Federal

      Highway Administration (collectively, “Defendants”), and the above-captioned intervenor-

      defendants Metropolitan Transportation Authority and Triborough Bridge and Tunnel

      Authority (collectively, “Intervenor-Defendants”) show cause before a motion term of this

      Court, in Room ____, United States Courthouse, 50 Walnut Street, Newark, NJ 07102 on

      _____________________, 2025, at _________ a.m/p.m., or as soon as thereafter as

      counsel may be heard, why orders should not be issued: (i) pursuant to Rules 59 and 60 of

      the Federal Rules of Civil Procedure, granting clarification/reconsideration and ruling that,

      in accordance with this Court’s December 30, 2024 summary judgment decision, the Final

      Environmental Assessment (“EA”) and Finding of No Significant Impact (“FONSI”) are

      vacated pending the parties’ compliance with the remand proceedings ordered by the Court,

      see ECF No. 191 at 71–72; and (ii) pursuant to Rule 65 of the Federal Rules of Civil

      Procedure (A) temporarily restraining and preliminarily enjoining the Defendants and

      Intervenor-Defendants during the pendency of the remand proceedings ordered by this

      Court, and during the resolution of this litigation in this Court, including this application

      by order to show cause for clarification/reconsideration, from taking any further action to

      implement the Central Business District Tolling Program pursuant to the Final EA and

      FONSI pertaining to that Program; and (B) granting such other relief against Defendants

      and Intervenor-Defendants as this Court deems just and proper.

II.   ORDERED, that sufficient cause having been shown, pending the hearing on both

      Plaintiff’s application for clarification/reconsideration, pursuant to Rules 59 and 60, and

      Plaintiff’s application for emergency injunctive relief, pursuant to Rule 65 of the Federal

      Rules of Civil Procedure, Defendants and Intervenor-Defendants are temporarily and




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       immediately restrained and enjoined from taking any further action to implement the

       Central Business District Tolling Program pursuant to the Final EA and FONSI pertaining

       to that Program.

III.   ORDERED, that Plaintiff is not required to provide an undertaking in support of the

       restraining order.

IV.    ORDERED,           that   opposition   papers,      if   any,   must     be   submitted     by

       _____________________, 2025.

V.     ORDERED, that Plaintiff may submit a reply in support of its Application by Order to

       Show Cause for Clarification and/or Reconsideration and for a Temporary Restraining

       Order and Preliminary Injunction by _____________________, 2025.

VI.    ORDERED, that (1) personal service, or (2) service by (a) e-mail or (b) overnight delivery,

       of a copy of this Order and the above-referenced Declaration, Memorandum of Law and

       Complaint, with exhibits annexed thereto, upon the Defendants and Intervenor-Defendants

       or their respective counsel on or before _____________________, 2025, at 8:00 p.m. shall

       be deemed good and sufficient service thereof.


DATED: ____________________________                     SO ORDERED:
       Newark, New Jersey
                                                        ______________________________
                                                        HON. LEO M. GORDON
                                                        U.S. Court of International Trade
                                                        (sitting by designation in the District of New
                                                        Jersey)




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